                     Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 1 of 37

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern                                 Texas
 ____________________ District of _________________
                                        (State)
                                                                         11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Loyalty Ventures Inc.
                                              ______________________________________________________________________________________________________



                                                  None
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8      7       1   3   5    3    4
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                     7   2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  8235 Douglas Avenue
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                               Suite 1200
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box
                                                  Dallas                        TX           75225
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                  Dallas                                                   principal place of business
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.loyaltyventures.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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              Loyalty Ventures Inc.
Debtor        _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 4 ___
                                                    1 ___
                                                       5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          
                                                          x The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                       Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 3 of 37

Debtor          Loyalty Ventures Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        
                                         x No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an             
                                         x Yes. Debtor _____________________________________________
                                                        See Rider 1                                               Affiliate
                                                                                                     Relationship _________________________
      affiliate of the debtor?                               Southern District of Texas
                                                   District _____________________________________________ When                03/10/2023
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         
                                         x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         
                                         x No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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               Loyalty Ventures Inc.
Debtor        _______________________________________________________                                  Case number (if known)_____________________________________
              Name




 13. Debtor’s estimation of                   Check one:
     available funds                          
                                              x Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                               1-49                               1,000-5,000                                  25,001-50,000
 14. Estimated number of
                                               50-99                              5,001-10,000                                 50,001-100,000
     creditors
                                               100-199                            10,001-25,000                                More than 100,000
                                              
                                              x 200-999

                                               $0-$50,000                        
                                                                                  x $1,000,001-$10 million                       $500,000,001-$1 billion
 15. Estimated assets
                           1
                                               $50,001-$100,000                   $10,000,001-$50 million                      $1,000,000,001-$10 billion
                                               $100,001-$500,000                  $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                               $500,001-$1 million                $100,000,001-$500 million                    More than $50 billion
1. Does not include the value of any potential litigation claims that may be asserted by the debtor.

                                               $0-$50,000                         $1,000,001-$10 million                      
                                                                                                                                x $500,000,001-$1 billion
 16. Estimated liabilities
                                               $50,001-$100,000                   $10,000,001-$50 million                      $1,000,000,001-$10 billion
                                               $100,001-$500,000                  $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                               $500,001-$1 million                $100,000,001-$500 million                    More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                   petition.
     debtor
                                                  I have been authorized to file this petition on behalf of the debtor.

                                                  I have examined the information in this petition and have a reasonable belief that the information is true and
                                                   correct.


                                              I declare under penalty of perjury that the foregoing is true and correct.

                                                               03/10/2023
                                                  Executed on _________________
                                                              MM / DD / YYYY


                                               /s/ John J. Chesnut
                                                   _____________________________________________                  John J. Chesnut
                                                                                                                 _______________________________________________
                                                  Signature of authorized representative of debtor               Printed name

                                                         Chief Financial Officer of Loyalty Ventures Inc.
                                                  Title _________________________________________




 Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 4
                     Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 5 of 37

Debtor       Loyalty Ventures Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Matthew D. Cavenaugh
                                          _____________________________________________            Date        03/10/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY


                                            Matthew D. Cavenaugh
                                         _________________________________________________________________________________________________
                                         Printed name
                                            Jackson Walker LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                           1401 McKinney Street, Suite 1900
                                         _________________________________________________________________________________________________
                                         Number     Street
                                             Houston
                                         ____________________________________________________             TX
                                                                                                         ____________
                                                                                                                       77010
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                           (713) 752-4200
                                         ____________________________________                             mcavenaugh@jw.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          24062656
                                         ______________________________________________________
                                                                                                          Texas
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                   Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 6 of 37
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.
                                       XX-XXXXXXX

              2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.1
        9/30/2022

              a. Total assets                                                             $ 1,591,218,000

              b. Total debts (including debts listed in 2.c., below)                      $ 1,980,850,000
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock                                                                       0
              e. Number of shares common stock                                                                             24,611,933


              Comments, if any:



             3. Brief description of debtor=s business: Loyalty Ventures Inc. ("LVI") is a leading provider of tech-enabled,
        data-driven consumer loyalty solutions that help financial services providers, retailers and other consumer-facing businesses
        create and increase customer loyalty. LVI operates BrandLoyalty, a European-based business that provides loyalty
        campaigns to high-frequency retailers and grocers, and AIR MILES, Canada’s most recognized consumer loyalty program.
            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
         Bread Financial Holdings, Inc. (18.97%); BlackRock, Inc. (5.23%)




        1. As reported in Loyalty Ventures Inc.'s Quarterly Report on Form 10-Q for the quarter ended September 30, 2022
           on a consolidated basis.
        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
         Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 7 of 37




                                            RIDER 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
the Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of
the United States Code. The Debtors will move for joint administration of these cases under the
case number assigned to the chapter 11 case of Loyalty Ventures Inc.

   1.   Loyalty Ventures Inc.
   2.   LVI Lux Holdings S.à r.l.
   3.   LVI Sky Oak LLC
   4.   Rhombus Investments L.P.
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                                 )
In re:                                           )        Chapter 11
                                                 )
LOYALTY VENTURES INC.,                           )        Case No. 23-_____ ([__])
                                                 )
                             Debtor.             )        (Joint Administration Requested)
                                                 )


                        CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                 Shareholder                         Approximate Percentage of Shares Held

         Bread Financial Holdings, Inc.                                18.97%
            Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 9 of 37




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                               )
In re:                                                         )        Chapter 11
                                                               )
LOYALTY VENTURES INC.,                                         )        Case No. 23-_____ ([__])
                                                               )
                                      Debtor.                  )        (Joint Administration Requested)
                                                               )


                                LIST OF EQUITY SECURITY HOLDERS1

            Equity Holder                          Address of Equity Holder                       Approximate
                                                                                                  Percentage of
                                                                                                  Equity Held

    Bread Financial Holdings, Inc.         7500 Dallas Parkway, Suite 700, Plano                      18.97%
                                                        TX 75024

           BlackRock, Inc.                   55 East 52nd Street, New York, NY                         5.23%
                                                           10055




1
      This list reflects holders of five percent or more of Loyalty Ventures Inc.’s common stock. This list serves as the
      disclosure required to be made by the Debtors pursuant to Rule 1007 of the Federal Rules of Bankruptcy
      Procedure (the “Bankruptcy Rules”). By the Debtors’ Emergency Motion for Entry of an Order (I) Waiving the
      Requirement to File a List of and Provide Notice Directly to Equity Security Holders, (II) Authorizing the Debtors
      to Redact Certain Personally Identifiable Information, (III) Approving the Form and Manner of the Notice of
      Commencement, and (IV) Granting Related Relief filed contemporaneously herewith, the Debtors are requesting
      a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of their equity security holders.
                                              Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Case
Debtor __Loyalty Ventures Inc., et al.________________________
                                                                                                 Page      10 of 37
                                                                                                      number (if known)_____________________________________




       Fill in this information to identify the case:
       Debtor name: Loyalty Ventures Inc.
       United States Bankruptcy Court for the: Southern District of Texas Houston Division
       Case number (If known): ______________                                                                                                                  Check if this is an amended
                                                                                                                                                                filing

       Official Form 204
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
       Not Insiders                                                                           12/15
       A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
       who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
       among the holders of the 30 largest unsecured claims.
            Name of creditor and complete mailing                  Name, telephone number, and email Nature of the claim (for Indicate if claim is Amount of unsecured claim
                 address, including zip code                          address of creditor contact     example, trade debts,      contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                           bank loans,         unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                                      professional services,       disputed        deduction for value of collateral or setoff to calculate unsecured
                                                                                                        and government                             claim.
                                                                                                            contracts)
                                                                                                                                                                               Deduction for
                                                                                                                                                        Total claim, if      value of collateral
                                                                                                                                                      partially secured          or setoff            Unsecured claim
                                                                  President and Chief Executive Officer
       Bread Financial Holdings, Inc.
                                                                  Ralph Andretta
       3095 Loyalty Circle                                                                                                                Contingent,
   1                                                              EMAIL ‐ ralph.andretta@breadfinancial.com    Contract Claim                                                                      Undetermined
       Columbus, OH 43219                                                                                                                 Unliquidated, Disputed
                                                                  PHONE ‐ (718) 248‐1622
       United States

       Eligible Brand Loyalty Omnibus Incentive Plan Employees
       Koningsweg 101                                                                                          February 2023 Annual
   2                                                                                                                                                                                               $              827,013
       Den Bosch, 5211 BH                                                                                      Vesting Amounts
       The Netherlands

                                                                 Mitch Bramlett
     PricewaterhouseCoopers LLP
                                                                 Tax Partner
     2121 N Pearl St Suite 2000
   3                                                             EMAIL ‐ mitch.bramlett@us.pwc.com             Trade Payable                                                                       $              250,000
     Dallas, TX 75201
                                                                 PHONE ‐ (214) 754‐7476
     United States

                                                                 Evan Reiser
     Abnormal Security Corp
                                                                 Chief Executive Officer
     797 Bryant St
   4                                                             EMAIL ‐ ereiser@abnormalsecurity.com          Trade Payable                                                                       $              143,577
     San Francisco, CA 94107
                                                                 PHONE ‐ (646) 283‐9493
     United States

                                                                 Vice President, Deputy General Counsel and
     Nasdaq                                                      Corporate Secretary
     805 King Farm Boulevard                                     Erika Moore
   5                                                                                                           Trade Payable                                                                       $              62,000
     Rockville, MD 20850                                         EMAIL ‐ erika.moore@nasdaq.com
     United States                                               PHONE ‐ (212) 401‐8769

     Auditboard                                                  Tina Yeh
     12900 Park Plaza Drive                                      VP of Finance and Operations
   6 Suite 200                                                   EMAIL ‐ tyeh@auditboard.com                   Trade Payable                                                                       $              22,887
     Cerritos, CA 90703                                          PHONE ‐ (877) 769‐5444
     United States
                                                                 Jeff Stoebner
     AVI Systems
                                                                 President and Chief Executive Officer
     9675 W 76th St, Ste 130
   7                                                             EMAIL ‐ jeff.stoebner@avisystems.com          Trade Payable                                                                       $              22,541
     Eden Prairie, MN 55344
                                                                 PHONE ‐ (701) 223‐3800
     United States

                                                                 Yvonne Xu
     Ernst & Young Product Sales LLC
                                                                 Managing Director
     950 Main Avenue, Suite 1800
   8                                                             EMAIL ‐ yvonne.xu@ey.com                      Trade Payable                                                                       $               3,838
     Cleveland, OH 44113
                                                                 PHONE ‐ (214) 969‐8917
     United States

                                                                 Stuart Irving
     Computershare Inc.
                                                                 Chief Executive Officer
     Yarra Falls 452 Johnston St
   9                                                             EMAIL ‐ stuart.irving@computershare.com.au    Trade Payable                                                                       $               1,644
     Abbotsford, Victoria, 3067
                                                                 PHONE ‐ (781) 575‐2000
     Australia


  10

  11

  12

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Official Form 204                                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               page 1
                                   Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Case
Debtor __Loyalty Ventures Inc., et al.________________________
                                                                                      Page      11 of 37
                                                                                           number (if known)_____________________________________




         Name of creditor and complete mailing           Name, telephone number, and email Nature of the claim (for Indicate if claim is Amount of unsecured claim
              address, including zip code                   address of creditor contact     example, trade debts,      contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                 bank loans,         unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                            professional services,       disputed        deduction for value of collateral or setoff to calculate unsecured
                                                                                              and government                             claim.
                                                                                                  contracts)
                                                                                                                                                                     Deduction for
                                                                                                                                              Total claim, if      value of collateral
                                                                                                                                            partially secured          or setoff            Unsecured claim
  19

  20

  21

  22

  23

  24

  25

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  29

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Official Form 204                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                page 2
         Case 23-90111 Document 1 Filed in TXSB on 03/10/23 Page 12 of 37




                          OMNIBUS ACTION BY WRITTEN CONSENT OF
                                THE GOVERNING BODIES OF
                                  LOYALTY VENTURES INC.
                                 LVI LUX HOLDINGS S.À R.L.,
                                LVI LUX FINANCING S.À R.L.,
                                     LOYALTYONE, CO.,
                                      LVI SKY OAK LLC,
                                            AND
                                RHOMBUS INVESTMENTS L.P.


                                               March 9, 2023

          The undersigned, being (i) all of the members of the boards of directors and all of the members of
the boards of managers, as applicable (collectively, the “Boards”), of: (1) Loyalty Ventures Inc., a Delaware
corporation (“Holdings”); (2) LVI Lux Holdings S.à r.l., a private limited liability company (société à
responsabilité limitée) incorporated under the laws of Luxembourg, with registered office at 11-13,
boulevard de la Foire, L-1528 Luxembourg, Grand Duchy of Luxembourg, registered with the Luxembourg
Trade and Companies Register under the number B181613 (“Lux Holdings”); (3) LVI Lux Financing S.à
r.l., a private limited liability company (société à responsabilité limitée) incorporated under the laws of
Luxembourg, with registered office at 11-13, boulevard de la Foire, L-1528 Luxembourg, Grand Duchy of
Luxembourg, registered with the Luxembourg Trade and Companies Register under the number B181593
(“Lux Financing”) and (4) LoyaltyOne, Co., a Nova Scotia unlimited liability company (“LoyaltyOne”),
and (ii) each of the members (each, a “Member”), limited partners (each, a “Limited Partner”), and general
partners, as applicable (each, a “General Partner” and, together with the Boards, the Members and the
Limited Partners, the “Governing Bodies” and, each individually a “Governing Body”), of: (5) LVI Sky
Oak LLC, a Delaware limited liability company and (6) Rhombus Investments L.P., a Bermuda exempted
limited partnership (items (1), (2), (5) and (6) together, the “Chapter 11 Debtors” and, together with
LoyaltyOne and Lux Financing, the “Companies” and, each individually, a “Company”), do hereby
unanimously consent and agree in writing pursuant to the applicable governing documents of the
Companies and pursuant to the Delaware General Corporation Law, the Delaware Limited Liability
Company Act, the Companies Act (Nova Scotia), the Limited Partnership Act 1883 (Bermuda), as
amended, the Partnership Act 1902 (Bermuda), as amended, the Exempted Partnership Act 1992
(Bermuda), as amended, and the laws of the Grand Duchy of Luxembourg as well as article 12.11 of the
respective articles of association of Lux Holdings and Lux Financing, as applicable, to the adoption of the
following written resolutions in lieu of a meetings of the applicable Governing Bodies, the call and notice
of which are hereby expressly waived, and authorize the taking of all actions contemplated hereby.

         WHEREAS, each Governing Body has reviewed and considered the materials presented by the
management and the financial and legal advisors of the Companies, including, but not limited to, Akin
Gump Strauss Hauer & Feld LLP (“Akin Gump”), United States legal counsel to the Companies, Cassels
Brock & Blackwell LLP, Canadian legal counsel to LoyaltyOne (“Cassels”), PJT Partners LP (“PJT”),
investment banker to the Companies, Alvarez & Marsal North America, LLC, United States financial and
restructuring advisor to the Companies (“US A&M”), and Alvarez & Marsal Canada ULC, Canadian
financial and restructuring advisor to LoyaltyOne (“CA A&M”), on the date hereof regarding, among other
things, the liabilities, assets and liquidity of each Company and the other direct and indirect subsidiaries of
the Companies, the strategic alternatives available to each Company and the other direct and indirect
subsidiaries of the Companies, and the potential impact (financial and otherwise) of the foregoing on each
Company’s respective businesses;

        WHEREAS, the Board of Holdings previously formed the Special Committee of the Board of
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Holdings (the “Special Committee”) whose duties include, among others, to review, analyze, evaluate and
negotiate the terms and conditions of, and recommend to the Board of Holdings for further action regarding
any potential strategic transactions, recapitalizations, financings, refinancings, amendments, waivers,
restructurings, rights offerings, sales of equity or assets or other transactions and any related actions;

         WHEREAS, in connection with each Governing Body’s consideration of such liabilities, assets,
liquidity, strategic alternatives and the impact thereof, each Governing Body has reviewed and evaluated
the potential financing and/or restructuring alternatives available to each Company, including, but not
limited to: (i) an equity or debt (including debtor in possession) financing; (ii) a reorganization; (iii) a
merger, recapitalization, refinancing, amendment or exchange of the Companies’ existing indebtedness or
any of the Companies’ capital stock, in each case, whether in-court or out-of-court and/or whether pursuant
to a pre-negotiated or pre-planned restructuring plan or proposal or otherwise; (iv) a sale of some or all of
the assets of the Companies; (v) the seeking of relief under chapter 11 of title 11 of the United States Code,
11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and the filing of voluntary petitions pursuant thereto; (vi)
the seeking of relief pursuant to the Business Corporations Act (Canada) R.S.C 1985, c. C-44, the
Companies’ Creditors Arrangement Act (Canada) R.S.C. 1985, c. C-36 as amended (the “CCAA”) or the
Bankruptcy and Insolvency Act (Canada) 1985, c. B-3; (vii) any combination of the foregoing and (viii) any
other strategic alternatives available to any Company (collectively, the “Transaction Alternatives”);

         WHEREAS, each Governing Body has had the opportunity to consult with the management and
the financial and legal advisors of the Companies and to fully consider each of the strategic alternatives
available to such Company, including, but not limited to, the Transaction Alternatives;

         WHEREAS, in contemplation of the foregoing, the Companies, the Special Committee and the
Companies’ advisors have engaged with certain respective creditors of the Companies and other parties in
interest in negotiating certain transactions (the “Transactions”) on the terms and subject to the conditions
set forth in the Transaction Support Agreement, substantially in the form attached hereto as Exhibit A
(including any exhibits and other attachments thereto, each as may be modified in accordance with the
terms thereof, the “Transaction Support Agreement”), by and among (i) each of the Companies; (ii) the
Consenting Term B Lenders; (iii) the Consenting Term A Lenders; (iv) the Consenting Revolving Lenders
and (v) the Administrative Agent (collectively, the Consenting Term B Lenders, the Consenting Term A
Lenders, the Consenting Revolving Lenders and the Administrative Agent, the “Consenting
Stakeholders”);

       WHEREAS, capitalized terms used but not otherwise defined in these resolutions shall have the
meanings ascribed to them in the Transaction Support Agreement;

         WHEREAS, the Special Committee has considered the presentations by, and recommendations of,
the management and the financial and legal advisors of Holdings regarding the liabilities and liquidity
situation of Holdings, the Transaction Alternatives, and the effect of the foregoing on Holdings’ businesses
and the businesses of Holdings’ subsidiaries and, after careful consideration of all the facts and
circumstances, has recommended that the Board of Holdings approve the Transactions, including, but not
limited to (i) the filing by each of the Chapter 11 Debtors of a voluntary petition for relief under chapter 11
of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”) and the filing of the Combined Disclosure Statement and Joint Chapter 11 Plan of
the Chapter 11 Debtors (as may be amended, modified or supplemented in accordance with the Transaction
Support Agreement, the “Combined DS and Plan”) and the contents and disclosures thereof, with the
Bankruptcy Court;




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         WHEREAS, each Governing Body, has considered the recommendations of the Special
Committee and the presentations by, and the recommendations of, the management and the financial and
legal advisors of the Companies regarding the liabilities and liquidity situation of the Companies, the
Transaction Alternatives, and the effect of the foregoing on the Companies’ businesses and, after careful
consideration of all of the facts and circumstances, has determined that it is advisable and in the best
interests of the Companies and their respective stakeholders, creditors, and other parties in interest to
consummate the Transactions;

          WHEREAS, each Governing Body has determined that the following resolutions are advisable and
in the best interests of the Companies and their respective stakeholders, creditors, and other parties in
interest;

         WHEREAS, each Governing Body, upon the advice of the Companies’ advisors and after due and
careful consideration of all of the facts and circumstances relating to each of the strategic alternatives
available to the Companies, including, but not limited to, the Transaction Alternatives, has determined that
it is advisable and in the best interests of the Companies and their respective stakeholders, creditors, and
other parties in interest to enter into the Transaction Support Agreement, substantially in the form attached
hereto as Exhibit A, and to seek to consummate the transactions contemplated thereby, subject to the terms
thereof;




        WHEREAS, each Governing Body of a Chapter 11 Debtor, upon the advice of such Chapter 11
Debtor’s advisors and after due and careful consideration of all of the facts and circumstances, has
determined that it is advisable and in the best interests of such Chapter 11 Debtor and its respective
stakeholders, creditors, and other parties in interest that such Chapter 11 Debtor file the Combined DS and
Plan with the Bankruptcy Court;

        WHEREAS, each Governing Body of a Chapter 11 Debtor, upon the advice of such Chapter 11
Debtor’s advisors and after due and careful consideration of all of the facts and circumstances, has
determined that it is advisable and in the best interests of such Chapter 11 Debtor and its respective
stakeholders, creditors, and other parties in interest that such Chapter 11 Debtor file or cause to be filed a
voluntary petition for relief under the provisions of the Bankruptcy Code in the Bankruptcy Court;




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                              TRANSACTION SUPPORT AGREEMENT

        NOW, THEREFORE, BE IT RESOLVED, that each Governing Body, based on the
recommendation of the Special Committee and the information presented to the Governing Bodies by, and
the recommendations of, the management and the financial and legal advisors of the Companies , has
determined that it is advisable and in the best interests of the Companies and their respective stakeholders,
creditors, and other parties in interest to enter into and execute the Transaction Support Agreement and to


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seek to consummate the Transactions contemplated thereby, subject to the terms thereof;

      RESOLVED FURTHER, that the form, terms and provisions of the Transaction Support
Agreement and the Companies’ execution and delivery of the Transaction Support Agreement and the
Companies’ performance thereunder, hereby are, in all respects, authorized, approved, adopted and ratified;

         RESOLVED FURTHER, that the Chief Executive Officer, President, Chief Financial Officer,
Treasurer, Secretary and any other duly elected or appointed officer of each Company, as applicable (the
“Authorized Persons”) are, and each of them hereby is, authorized, empowered and directed on behalf of,
and in the name of, the Companies to execute and deliver to the appropriate parties and to perform each
Company’s obligations under the Transaction Support Agreement, including, but not limited to, the
execution, delivery and performance of any agreements, documents, instruments or certificates constituting
exhibits, annexes or schedules to, or required to be executed pursuant to, the Transaction Support
Agreement, in each case, with such changes therein and additions thereto as any Authorized Person in his
or her absolute discretion approves, such approval to be conclusively evidenced by the taking of such action
or by his or her execution and delivery thereof;

                                       COMBINED DS AND PLAN

         RESOLVED FURTHER, that each Governing Body of a Chapter 11 Debtor, based on the
information presented to such Governing Body by, and the recommendations of, the management and the
financial and legal advisors of such Chapter 11 Debtor, authorizes, confirms, approves and ratifies the form,
terms and provisions of, and each of the transactions contemplated by, the Combined DS and Plan,
including, but not limited to, as such may contemplate a plan of liquidation of any of the Chapter 11 Debtors,
in each case, as may be amended or modified from time to time and with such changes therein and additions
thereto as any Authorized Person in his or her absolute discretion approves, such approval to be conclusively
evidenced by the taking of such action or by his or her execution and delivery thereof, and the filing thereof
with the Bankruptcy Court;

         RESOLVED FURTHER, that each Governing Body of a Chapter 11 Debtor, based on the
information presented to such Governing Body by, and the recommendations of, the management and the
financial and legal advisors of such Chapter 11 Debtor, has determined that it is advisable and in the best
interests of such Chapter 11 Debtor and its respective stakeholders, creditors, and other parties in interest
that such Chapter 11 Debtor commence solicitation of the Combined DS and Plan, pursuant and subject to
section 1125(g) of the Bankruptcy Code, the terms of the Transaction Support Agreement, the requirements
in such Chapter 11 Debtor’s applicable governing documents and applicable law, hereby consents to,
authorizes and approves, the commencement of solicitation of the Combined DS and Plan with such
changes therein and additions thereto as any Authorized Person in his or her absolute discretion approves,
such approval to be conclusively evidenced by the taking of such action or by his or her execution and
delivery thereof;

                                           CHAPTER 11 FILING

         RESOLVED FURTHER, that each Governing Body of a Chapter 11 Debtor, based on the
information presented to such Governing Body by, and the recommendations of, the management and the
financial and legal advisors of such Chapter 11 Debtor, has determined that it is advisable and in the best
interests of such Chapter 11 Debtor and its respective stakeholders, creditors, and other parties in interest
that such Chapter 11 Debtor shall be, and hereby is, authorized to file or cause to be filed a voluntary petition
for relief under the provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court (each, a
“Chapter 11 Case” and, collectively, the “Chapter 11 Cases”);



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         RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is, authorized,
empowered and directed to execute and file on behalf of each Chapter 11 Debtor all petitions, schedules,
motions, objections, replies, applications, pleadings, lists, documents and other papers, and to take any and
all action that such Authorized Persons deem necessary, appropriate or desirable to obtain such relief,
including, but not limited to, any action necessary, appropriate or desirable to maintain the ordinary course
operation of such Chapter 11 Debtor’s businesses or to assist such Chapter 11 Debtor in the Chapter 11
Cases and in carrying out its duties under the provisions of the Bankruptcy Code;




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                                     ADEQUATE PROTECTION

         RESOLVED FURTHER, that the Companies shall provide certain adequate protection to the
Prepetition Secured Lenders, including, but not limited to, adequate protection replacement liens, adequate
protection superpriority claims and the receipt of payment of fees and expenses as adequate protection (the
“Adequate Protection Obligations”);

         RESOLVED FURTHER, that the Companies as debtors and debtors in possession under the
Bankruptcy Code be, and hereby are, authorized to negotiate and incur the Adequate Protection Obligations,
grant liens, make periodic payments and to undertake any and all related transactions on substantially the


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same terms as contemplated under the Transactions (collectively, the “Adequate Protection
Transactions”);

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is, authorized,
empowered and directed on behalf of, and in the name of, the Companies, as debtors and debtors in
possession, to take such actions as in his or her reasonable discretion is determined to be necessary, desirable
or appropriate and execute the Adequate Protection Transactions;




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                                       GENERAL AUTHORITY

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is, authorized,
empowered and directed on behalf of, and in the name of, the Companies to take such further steps and
execute and deliver such further documents, instruments, agreements, consents and filings as such officers,
with the advice of counsel, may deem necessary or desirable to carry out any transactions contemplated by


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the above resolutions;

         RESOLVED FURTHER, that the authority conferred upon any Authorized Person by these
resolutions are in addition to, and shall in no way limit, such other authority as such Authorized Person may
have with respect to the subject matter of the foregoing resolutions, and in addition to the specific
authorizations heretofore conferred upon the Authorized Persons, each of the Authorized Persons (and their
designees and delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of
each Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, file and/or record any and all such agreements, certificates, instruments and other
documents and to pay all expenses, including, but not limited to, any and all required fees or taxes, in each
case, as in such Authorized Person’s judgment, shall be necessary, appropriate or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions adopted herein;

        RESOLVED FURTHER, that any and all acts, transactions, agreements or certificates previously
signed on behalf of each Company by any Authorized Person in connection with or furtherance of the
foregoing resolutions that are consistent with the foregoing resolutions be, and hereby are, in all respects
approved, adopted, confirmed and ratified in all respects as the true acts and deeds of such Company, with
the same force and effect as if each such act, transaction, agreement or certificate had been specifically
authorized in advance by resolution of the Governing Body of such Company and such officer(s) did
execute the same;

        RESOLVED FURTHER, that each of Lux Holdings and Lux Financing instructs and delegates
the necessary powers to any of its respective managers, each acting individually with full power of
substitution, to act in the name and on behalf of Lux Holdings and Lux Financing, as applicable, to take
any and all actions that said person may in his or her absolute discretion deem necessary, appropriate,
helpful or desirable to carry out any transactions contemplated by the above resolutions;

         RESOLVED FURTHER, that the omission from these resolutions of any agreement or other
arrangement contemplated by any of the agreements described in the foregoing resolutions or any action to
be taken in accordance with any requirement of any of the agreements described in the foregoing resolutions
shall in no manner derogate from the authority of any Authorized Person to take all actions necessary,
appropriate or desirable to consummate, effectuate, carry out or further the matters contemplated by and
the intent and purposes of the foregoing resolutions;

         RESOLVED FURTHER, that if any resolution contained herein shall be adjudicated by a court
of competent jurisdiction to be invalid, prohibited or unenforceable for any reason, then, to the greatest
extent permitted by applicable law, such resolution, solely with respect to such jurisdiction, shall be
ineffective, without affecting the validity or enforceability of any other resolution in such jurisdiction and
without affecting the validity or enforceability of any resolution in any other jurisdiction;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is, authorized,
empowered and directed on behalf of, and in the name of, the Companies to certify and furnish such copies
of these resolutions and such statements as to the incumbency of such Company’s officers, under seal if
necessary, as may be requested, and any person receiving such certified copy is and shall be authorized to
rely upon the contents thereof;

        RESOLVED FURTHER, that this written consent may be executed in multiple counterparts, all
of which shall be considered one and the same consent and shall become effective when signed by the
necessary and required directors, managers, members, limited partners, or general partner, as applicable, of
the applicable Governing Bodies, in each case, as required to take action by written consent under the
applicable governing documents and law of such Company; and


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        RESOLVED FURTHER, that this consent may be executed and delivered by means of facsimile,
telecopy or other electronic transmission (including email of a “pdf” signature), this consent shall be treated
in all manners and respects and for all purposes as an original consent and shall be considered to have the
same binding legal effect as if it were the original signed version thereof delivered in person.



                                    [SIGNATURE PAGES FOLLOW]




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                     IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this written
             consent as of the date first written above.

                                                                   BOARD OF DIRECTORS OF
                                                                   LOYALTY VENTURES INC.




                                                                   _____________________________
                                                                   Graham W. Atkinson




                                                                   _____________________________
                                                                   Richard A. Genovese




                                                                   _____________________________
                                                                   Charles L. Horn




                                                                   _____________________________
                                                                   Barbara L. Rayner




                                  [Signature Page to Written Consent of the Governing Bodies]
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                                                                   BOARD OF DIRECTORS OF
                                                                   LOYALTYONE, CO.




                                                                   _____________________________
                                                                   Cynthia L. Hageman




                                                                   _____________________________
                                                                   Shawn D. Stewart




                                                                   _____________________________
                                                                   Eugene I Davis




                                  [Signature Page to Written Consent of the Governing Bodies]
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                                            BOARD OF MANAGERS OF
                                            LVI LUX HOLDINGS S.À R.L.


                                            ___________________________________
                                            Jeffrey L. Fair&ODVV$0DQDJHU



                                            ___________________________________
                                            Cynthia L. Hageman&ODVV$0DQDJHU


                                            ____________________________________
                                            Reine Gueye-Eichhorn&ODVV%0DQDJHU


                                            ____________________________________
                                            Stéphane Hepineuze&ODVV%0DQDJHU




           [Signature Page to Written Consent of the Governing Bodies]
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                                            BOARD OF MANAGERS OF
                                            LVI LUX FINANCING S.À R.L.



                                            ____________________________________
                                            Jeffrey L. Fair&ODVV$0DQDJHU


                                            ____________________________________
                                            Cynthia L. Hageman&ODVV$0DQDJHU


                                            ____________________________________
                                            Reine Gueye-Eichhorn&ODVV%0DQDJHU


                                            ____________________________________
                                            Stéphane Hepineuze&ODVV%0DQDJHU




           [Signature Page to Written Consent of the Governing Bodies]
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 Fill in this information to identify the case and this filing:


                 Loyalty Ventures Inc.
 Debtor Name __________________________________________________________________
                                          Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         X Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                       List of Equity Security Holders, Corporate Ownership Statement
         X Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    03/10/2023
        Executed on ______________                          /s/ John J. Chesnut
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 John J. Chesnut
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Financial Officer of Loyalty Ventures Inc.
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
